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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

       vs.                  CASE NO. 4:04cr00239-05 JMM

LISA MICHELLE DUNAWAY
a/k/a Lisa Weatherford


                       AMENDED JUDGMENT & COMMITMENT

       The Judgment, entered in this case on June 22, 2007 (docket entry #479), is

amended to correct a clerical error. Page 6 should include the forfeiture of all that lot or

parcel of land, together with its buildings, appurtenances, improvements, fixtures,

attachments, and easements located at 6906 Arch Street, Little Rock, Arkansas 72206 and

7709 Woodhaven Drive, Little Rock, Arkansas 72209.

       The remaining portions of the Judgment will remain in full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office, the United States Marshals Office and the financial section of the Clerk’s office.

       IT IS SO ORDERED this 11th day of January, 2008.



                                          UNITED STATES DISTRICT JUDGE
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